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 3     Telephone: 530.759.0700
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 4
     Attorney for Defendant
 5   JAMES KEVIN DIXON
 6

 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
                                       SACRAMENTO DIVISION
10

11
     UNITED STATES OF AMERICA,                      ) Case No. CR. S-08-263 FCD
12                                                  )         CR. S-08-579 FCD
                               Plaintiff,           )
13                                                  )
           vs.                                      )
14                                                  ) AMENDED STIPULATION AND
     JAMES KEVIN DIXON,                             ) ORDER TO CONTINUE SENTENCING
15                                                  )
                               Defendant.           )
16                                                  )
                                                    )
17

18          It is hereby stipulated and agreed to between plaintiff, UNITED STATES OF
19   AMERICA, through its counsel of record, Matthew Segal, Assistant United States Attorney, and
20   defendant, JAMES KEVIN DIXON, through his counsel of record, Joseph J. Wiseman, and
21   without objection from the United States Probation Officer assigned to this case, that the
22   sentencing of defendant now scheduled for July 27, 2006 at 10:00 a.m., be rescheduled to
23   October 5, 2009 at 10:00 a.m.
24          Pursuant to this stipulation, the Schedule for Disclosure of Presentencing Report is
25   modified as follows: the Proposed Presentence Report shall be disclosed to counsel no later than
26   August 31, 2009; counsel’s written objections to the Presentence Report shall be delivered to the
27   probation officer and opposing counsel no later than September 7, 2009; the Presentence Report
28   shall be filed with the court and disclosed to counsel no later than September 21, 2009; and a

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     AMENDED STIPULATION AND ORDER TO CONTINUE                                            CR S 08-263 FCD
     SENTENCING                                                                           CR S 08-579 FCD
      Case 2:08-cr-00263-TLN Document 114 Filed 07/14/09 Page 2 of 2


 1   Motion for Correction of the Presentence Report shall be filed with the court and served on the
 2   probation officer and opposing counsel no later than September 28, 2009.
 3          The parties are requesting this continuance to provide the probation officer with
 4   additional time to prepare the case for sentencing.
 5   Dated: July 13, 2009                          Respectfully submitted,
 6                                                 JOSEPH J. WISEMAN, P.C.
 7

 8                                                 By:      /s/ Joseph J. Wiseman
 9                                                           JOSEPH J. WISEMAN
                                                             Attorney for Defendant
10
                                                             JAMES KEVIN DIXON
11

12
     Dated: July 13, 2009                          LAWRENCE G. BROWN
13                                                 United States Attorney

14
                                                   By:       /s/ Matthew D. Segal
15
                                                             MATTHEW D. SEGAL, AUSA
16                                                           Attorney for Plaintiff
                                                             UNITED STATES OF AMERICA
17

18
                                                  ORDER
19
            GOOD CAUSE HAVING BEEN SHOWN, IT IS HEREBY ORDERED THAT the
20
     sentencing of defendant JAMES KEVIN DIXON in the above-captioned case shall be continued
21
     to October 5, 2009 at 10:00 a.m., and the Schedule for Disclosure of Presentence Report is
22
     modified as stated herein.
23
     Dated: July 14, 2009
24

25
                                                         ___________________________________________
26
                                                         FRANK C. DAMRELL, JR.
27                                                       UNITED STATES DISTRICT JUDGE
28

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     AMENDED STIPULATION AND ORDER TO CONTINUE                                                CR S 08-263 FCD
     SENTENCING                                                                               CR S 08-579 FCD
